                       1:04-cr-10084-MMM-JAG # 249            Page 1 of 2
                                                                                               E-FILED
                                                                   Monday, 02 April, 2007 10:56:45 AM
                                                                        Clerk, U.S. District Court, ILCD

                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE CENTRAL DISTRICT OF ILLINOIS
                                   AT PEORIA

UNITED STATES OF AMERICA,                    )
                                             )
               Plaintiff,                    )
                                             )
       v.                                    )      Case No. 04-10084
                                             )
MELVIN CHANCEY,                              )
                                             )
               Defendant.                    )

                                      RULE 35 MOTION

       Now comes the United States of America by Rodger A. Heaton, United States Attorney,

and K. Tate Chambers, Assistant United States Attorney, for the Central District of Illinois, and

pursuant to Federal Rule of Criminal Procedure 35 hereby moves to reduce defendant's sentence

in the above-styled case.

                                                    Respectfully submitted,

                                                    UNITED STATES OF AMERICA

                                                    RODGER A. HEATON
                                                    UNITED STATES ATTORNEY



                                                    s/K. Tate Chambers
                                                    K. TATE CHAMBERS
                                                    Assistant United States Attorney
                                                    One Technology Plaza, Suite 400
                                                    211 Fulton Street
                                                    Peoria, Illinois 61602
                                                    Telephone: (309) 671-7050
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                                CERTIFICATE OF SERVICE

       I hereby certify that on April 2, 2007, I electronically filed the foregoing Rule 35 Motion

with the Clerk of the Court using the CM/ECF system which will send notification of such filing

to the below-named party. Service has also been made on the party listed below by depositing a

copy thereof in the United States mail, postage prepaid, addressed to:




Peter J Wilkes
Suite 104
7060 Centennial Dr
Tinley Park, IL 60477




                                                    s/: Kim Ritthaler
                                                    Legal Assistant
